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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 ABEL CANO-CASTILLO,                                  )
                                Petitioner,           )
                                                      )
        vs.                                           )       Case No. 1:13-cv-1811-TWP-DKL
                                                      )                1:11-cr-00025-TWP-TAB-6
 UNITED STATES OF AMERICA.                            )


                 Entry Denying Motion for Relief Pursuant to 28 U.S.C. ' 2255
                          and Denying Certificate of Appealability

        This matter is before the Court on the motion of Petitioner Abel Cano-Castillo (“Mr. Cano-

 Castillo”) for relief pursuant to 28 U.S.C. § 2255. For the reasons explained in this Entry, the

 motion must be denied and the action dismissed with prejudice. In addition, the Court finds that a

 certificate of appealability should not issue.

                                        I. The § 2255 Motion

                                              Background

        On May 5, 2011, Mr. Cano-Castillo was charged in a multi-defendant Second Superseding

 Indictment in 1:11-cr-0025-TWP-TAB-6, with three counts. In Count 1 he was charged with

 conspiracy to possess with intent to distribute 50 grams or more of methamphetamine (actual), in

 violation of 21 U.S.C. §§ 841(a)(1) and 846; in count 4, he was charged with distribution of 5

 grams or more of methamphetamine (actual), in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C.

 § 2; and, in Count 8, Mr. Cano-Castillo was with distribution of 50 grams or more of

 methamphetamine (actual), in violation of 21 U.S.C. § 841(a)(1).

        On November 21, 2011, Mr. Cano-Castillo filed a petition to enter a plea of guilty. The

 parties submitted a written plea agreement, pursuant to Rule 11(c)(1)(A) and (B) of the Federal
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 Rules of Criminal Procedure, on that same date. In the plea agreement, Mr. Cano-Castillo agreed

 to plead guilty to count 1 of the Second Superseding Indictment and the United States agreed to

 dismiss counts 4 and 8.

        On February 1, 2013, a change of plea and sentencing hearing was conducted. At that

 hearing, the Court determined that Mr. Cano-Castillo was fully competent and capable of entering

 an informed plea, that the plea was knowing and voluntary, and it was supported by an independent

 basis in fact. The Court accepted Mr. Cano-Castillo’s plea of guilty and adjudged him guilty as

 charged. The Court then sentenced Mr. Cano-Castillo to a term of imprisonment of 87 months to

 be followed by two years of supervised release. Judgment of conviction was entered on February

 15, 2013. Mr. Cano-Castillo did not file a notice of appeal. However, on October 30, 2013, he filed

 a supplemental motion for completion of sentence under home detention for an early deportation,

 which the Court treated as a motion for post-conviction relief pursuant to 28 U.S.C. § 2255.

                                      Terms of Plea Agreement

        The plea agreement was submitted pursuant to Fed. R. Crim. P. 11(c)(1)(A), (B). In the

 plea agreement, Mr. Cano-Castillo agreed to plead guilty to count one of the Second Superseding

 Indictment and acknowledged that the penalties were “a prison term of not less than 10 years up

 to life imprisonment, a period of supervised release of not less than five years, and a fine of up to

 $10,000,000.” Plea Agreement, ¶1. Mr. Cano-Castillo acknowledged that “the final determination

 of the sentence, including the advisory sentencing guideline range, will be made by the Court.”

 Plea Agreement ¶ 2. Mr. Cano-Castillo agreed that “if the Court decides to impose a sentence

 higher or lower than any recommendation of either party, determines a different sentencing

 guideline range applies in this case, or sentences him outside of the otherwise applicable advisory

 sentencing guideline range, then he will not be permitted to withdraw his plea of guilty for that
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 reason and will be bound by his plea of guilty.” Plea Agreement ¶ 3. The United States agreed to

 move to dismiss the remaining two counts of the Second Superseding Indictment as to Mr. Cano-

 Castillo upon sentencing. Plea Agreement ¶ 1.

        In exchange for the concessions made by the United States, Mr. Cano-Castillo “expressly

 waive[d] his right to appeal the conviction and any sentence imposed on any ground, . . . [and]

 expressly agree[d] not to contest his conviction or sentence or seek to modify his sentence or the

 manner in which it was determined in any proceeding, including, but not limited to, an action

 brought under Title 28, United States Code, Section 2255.” Plea Agreement, ¶ 10.

                                              Discussion

        Mr. Cano-Castillo seeks to modify his sentence. He argues that he should be entitled to

 receive six (6) months’ credit toward his sentence because, as a deportable alien, he is not permitted

 to serve 10% of his sentence in a half-way house. He contends that a defendant’s status as an alien

 may serve as a basis for a downward departure under the sentencing guidelines and argues that

 because he is a non-citizen, he is being subjected to a much harsher sentence than that imposed on

 United States citizens who commit the same offense. He asserts that his attorney was ineffective

 during the plea process because counsel did not inform him that he would be serving a harsher

 sentence and would not be eligible for these benefits that a citizen prisoner enjoys. For relief, he

 seeks immediate deportation so that he could finish his sentence under home detention through

 early deportation.

        The United States construes Mr. Cano-Castillo’s claim as alleging that he was not advised

 that as an illegal alien, conviction meant near-certain deportation at the conclusion of his sentence.

 The Court does not, however, find any language in Mr. Cano-Castillo’s filing that challenges the

 fact that his conviction would lead to being deported. The Court does agree that if this were Mr.
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 Cano-Castillo’s claim, even if generously construed as a claim relating to the negotiation of the

 plea agreement, the record reflects that he was amply warned of this consequence and any

 ineffective assistance of counsel claim would fail on that basis. At the change of plea and

 sentencing hearing, the Court asked Mr. Cano-Castillo, “do you understand that this conviction

 will likely affect your immigration status, and if you are an illegal alien, you will likely be

 deported?” (Filing No. 718, Transcript, p. 7). Mr. Cano-Castillo responded, “Yes.” Id. Mr. Cano-

 Castillo’s trial counsel also testified in a sworn affidavit that he recalls advising Mr. Cano-Castillo,

 who was in the United States on an illegal basis, on at least three different occasions that a felony

 conviction would most likely result in deportation upon the completion of his sentence. (Filing

 No. 8).

           Although Mr. Cano-Castillo has not replied to the United States’ response nor has he

 otherwise clarified his claim the Court, nonetheless, reads his petition as focusing on the six month

 pre-release community placement opportunity, or lack thereof. 1 18 U.S.C. § 3624 (c)(1) (the

 “Second Chance Act”) provides that:

           The Bureau of Prisons shall, to the extent practicable, ensure that a prisoner serving
           a term of imprisonment spends a portion of the final months of that term (not to
           exceed 12 months), under conditions that will afford that prisoner a reasonable
           opportunity to adjust to and prepare for the reentry of that prisoner into the
           community.

 The Second Chance Act does not entitle any offender, citizen or non-citizen, to pre-release

 community confinement. Id. (“to the extent practicable”). Rather, inmates may be eligible for such

 placement after various factors are considered. Courts have concluded that the Bureau of Prisons



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  To the extent Mr. Cano-Castillo alleges an equal protection claim, it could be viewed as one better
 brought in a petition for writ of habeas corpus under 28 U.S.C. § 2241, but he has not challenged the
 Court’s determination that his petition was a motion to vacate under section 2255, and his ineffective
 assistance challenge to the plea process in an effort to modify his sentence has been properly treated as a
 section 2255 claim.
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 may exclude deportable aliens from consideration under the Second Chance Act. See Gallegos-

 Hernandez v. United States, 688 F.3d 190, 195-96 (5th Cir. 2012) (the BOP has discretion in

 deciding whether to allow early release and alien petitioner’s equal protection rights were not

 violated by BOP excluding him from early-release programs).

        Additionally, the United States responds that Mr. Cano-Castillo’s claim is barred by the

 waiver of post-conviction relief rights in the plea agreement. A motion pursuant to 28 U.S.C. '

 2255 is the presumptive means by which a federal prisoner can challenge his conviction or

 sentence. See Davis v. United States, 417 U.S. 333, 343 (1974). “It is well-settled that waivers of

 direct and collateral review in plea agreements are generally enforceable.” Hurlow v. United

 States, 726 F.3d 958, 964 (7th Cir. 2013); see also Keller v. United States, 657 F.3d 675, 681 (7th

 Cir. 2011) (“A defendant may validly waive both his right to a direct appeal and his right to

 collateral review under § 2255 as part of his plea agreement.”); United States v. Sakellarion, 649

 F.3d 634, 638 (7th Cir. 2011) (“We have repeatedly held that a voluntary and knowing waiver of

 an appeal is valid and must be enforced.”) (internal quotation omitted). Waiver provisions in plea

 agreements are upheld and enforced with limited exceptions, including clams that 1) the plea

 agreement was involuntary, 2) the district court relied on a constitutionally impermissible factor

 such as race, 3) the sentence exceeded the statutory maximum, or 4) counsel was ineffective in

 relation to the negotiation of the plea agreement. Keller, 657 F.3d at 681.

        Mr. Cano-Castillo asserts a claim that his attorney was ineffective. To overcome a waiver

 provision in a plea agreement based on ineffective assistance of counsel, a petitioner “cannot just

 assert that a constitutional violation preceded his decision to plead guilty or that his trial counsel

 was ineffective for failing to raise the constitutional claim.” Hurlow, 726 F.3d at 966. “Rather, he
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 must allege that he entered the plea agreement based on advice of counsel that fell below

 constitutional standards.” Id. at 966-67.

         The right to effective assistance of counsel is violated when the performance of counsel

 falls below an objective standard of reasonable professional conduct and prejudices the defense.

 Yarborough v. Gentry, 540 U.S. 1, 5 (2003) (citing Strickland v. Washington, 466 U.S. 668, 687

 (1984)). For Mr. Cano-Castillo to establish that his “counsel’s assistance was so defective as to

 require reversal” of his conviction, he must make two showings: (1) deficient performance that (2)

 prejudiced his defense. Strickland, 466 U.S. at 687.

        Mr. Cano-Castillo alleges that counsel was ineffective by not advising him of the effect his

 alien status would have on his sentence and that he would suffer “collateral consequences.” Even

 if this claim could be construed as one challenging the negotiation of the plea agreement, collateral

 consequences of deportable alien status including not being eligible for minimum security

 confinement, drug programs, and pre-release custody are not a basis for granting a downward

 departure at sentencing. United States v. Meza-Urtado, 351 F.3d 301, 305 (7th Cir. 2003) (“These

 downward departures are not permissible because denying certain end-of-sentence modifications

 (several months in a halfway house, for example) to illegal or deportable aliens cannot be viewed

 as a term of imprisonment ‘substantially more onerous’ than the guidelines contemplate in fixing

 a punishment for a crime.”); see also United States v. Babul, 476 F.3d 498, 501-02 (7th Cir. 2007)

 (a sentence within the Guideline range is reasonable and avoids unwarranted disparities between

 aliens and citizens in conformity with the objective of 18 U.S.C. § 3553(6)). The guideline ranges

 “are themselves designed to treat similar offenders similarly.” United States v. White, 737 F.3d

 1121, 1145 (7th Cir. 2013). Because Mr. Cano-Castillo would not have been entitled to a

 downward departure based solely on his alien status, he cannot show that his attorney provided
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 ineffective assistance. Mr. Cano-Castillo does not contend that he would not have pled guilty if he

 had known about the inability to qualify for pre-release community placement. Therefore, he has

 not shown any prejudice.

        Additionally, Mr. Cano-Castillo alleges that counsel was ineffective for failing to inform

 him that he would not be entitled to early release, and that this circumstance rendered his plea not

 voluntary, however, he has not shown any objectively deficient performance by counsel or

 prejudice. And, even if his claim were not barred by the waiver provision, it is meritless. See Mason

 v. United States, 211 F.3d 1065, 1069 (7th Cir. 2000) (because the ineffective assistance of counsel

 challenge relating to counsel’s performance at sentencing had nothing to do with the issue of

 deficient negotiation of the waiver, the petitioner waived his right to seek post-conviction relief).

        Accordingly, as to any claim outside the scope of the negotiation of the plea agreement,

 the waiver provision is valid and will be enforced. To the extent Mr. Cano-Castillo’s claim was

 not barred by the waiver, he has shown no ineffective assistance of counsel.

                                          Denial of Hearing

        An evidentiary hearing is “not required when the files and records of the case conclusively

 show that the prisoner is entitled to no relief.” Lafuente v. United States, 617 F.3d 944, 946 (7th

 Cir. 2010) (internal quotation omitted); see also 28 U.S.C. § 2255(b). That is the case here.

 Although Mr. Cano-Castillo did not request a hearing, if he had, the Court finds that a hearing is

 not warranted under these circumstances.

                                             Conclusion

        The foregoing circumstances show that Mr. Cano-Castillo is not entitled to relief pursuant

 to 28 U.S.C. § 2255. The motion for relief pursuant to § 2255 (Filing No. 1) in No. 1:13-cv-0811-

 TWP-DDKL is therefore DENIED. The Motion to Vacate (Filing No. 715) in 1:11-cr-00025-
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 TWP-TAB-6 is also DENIED. This Entry and the accompanying Judgment shall also be entered

 on the docket in both actions.

         Judgment consistent with this Entry shall now issue.

                                     II. Certificate of Appealability

         Pursuant to Federal Rule of Appellate Procedure 22(b), Rule 11(a) of the Rules Governing

 ' 2255 Proceedings, and 28 U.S.C. ' 2253(c), the Court finds that Mr. Cano-Castillo has failed to

 show that reasonable jurists would find it “debatable whether the petition states a valid claim of

 the denial of a constitutional right” and “debatable whether the district court was correct in its

 procedural ruling.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). The Court therefore DENIES a

 certificate of appealability.

         IT IS SO ORDERED.




 Date: 12/22/2014


 Distribution:

 Electronically registered counsel

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